

Matter of Asia Lynn S. (Regina P.) (2018 NY Slip Op 07937)





Matter of Asia Lynn S. (Regina P.)


2018 NY Slip Op 07937


Decided on November 20, 2018


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 20, 2018

Renwick, J.P., Richter, Tom, Kern, Oing, JJ.


7647

[*1]In re Asia Lynn S., A Dependent Child Under Eighteen Years of Age, etc.,
andRegina P., Respondent-Appellant, Good Shepherd Services, Petitioner-Respondent.


Andrew J. Baer, New York, for appellant.
Geoffrey P. Berman, Larchmont, for respondent.
Law Offices of Randall S. Carmel, Jericho (Randall S. Carmel of counsel), attorney for the child.



Order, Family Court, Bronx County (Valerie A. Pels, J.), entered on or about January 3, 2017, which, to the extent appealed from, revoked a May 19, 2014 order suspending judgment for 12 months, terminated respondent mother's parental rights to the subject child, and committed the custody and guardianship of the child to petitioner agency and the Commissioner of Social Services for the purposes of adoption, unanimously affirmed, without costs.
The preponderance of the evidence in the latest proceedings, including testimony that the mother failed to visit the child, attend therapy, or complete a parenting skills program, all support the conclusion that the mother materially violated the terms of the suspended judgment (Matter of Kendra C.R., 68 AD3d 467 [1st Dept 2009], lv dismissed and denied 14 NY3d 870 [2010]).
Further, the child has been in foster care since she was two months old, and has developed a positive relationship with her present foster mother, who provides for her special needs and wants to adopt her (see Matter of Jada Serenity H., 60 AD3d 469, 470 [1st Dept 2009]).
We have considered and rejected the mother's remaining arguments.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: NOVEMBER 20, 2018
DEPUTY CLERK








